USCA4 Appeal: 21-1039       Doc: 105       Filed: 04/21/2023   Pg: 1 of 2




                                                                      FILED: April 21, 2023


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


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                                            No. 21-1039 (L)
                                         ___________________

        WILD VIRGINIA; SIERRA CLUB; APPALACHIAN VOICES; WILDERNESS
        SOCIETY; PRESERVE CRAIG; SAVE MONROE; INDIAN CREEK
        WATERSHED ASSOCIATION

                       Petitioners

        v.

        UNITED STATES FOREST SERVICE, an agency of the U.S. Department of
        Agriculture; JIM HUBBARD, in his official capacity as Under Secretary for
        Natural Resources and Environment, United States Department of Agriculture;
        KEN ARNEY, in his official capacity as Regional Forester of the Southern
        Region

                       Respondents

        MOUNTAIN VALLEY PIPELINE, LLC

                       Intervenor

        ------------------------------

        CHEROKEE FOREST VOICES; GEORGIA FORESTWATCH;
        MOUNTAINTRUE; THE CLINCH COALITION; VIRGINIA WILDERNESS
        COMMITTEE

                       Amici Supporting Petitioner
USCA4 Appeal: 21-1039     Doc: 105         Filed: 04/21/2023    Pg: 2 of 2




        AMERICAN FOREST RESOURCE COUNCIL; BLACK HILLS FOREST
        RESOURCE ASSOCIATION; COLORADO TIMBER INDUSTRY
        ASSOCIATION; FEDERAL FOREST RESOURCE COALITION;
        INTERMOUNTAIN FOREST ASSOCIATION; MONTANA WOOD
        PRODUCTS ASSOCIATION

                      Amici Supporting Respondent

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                                            ORDER
                                       ___________________

              Upon consideration of the joint motion to extend deadline for filing of motion

        for attorney’s fees and expenses, the court grants the motions and extends the

        deadline for filing a motion for attorney’s fees and costs to a date 30 days after the

        petitioners’ fee application in related proceedings before this Court, Appalachian

        Voices v. Department of the Interior (No. 20-2159), is resolved through a final order

        that is no longer subject to further review.

                                                For the Court

                                                /s/ Patricia S. Connor, Clerk
